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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION


      REIYN KEOHANE,

                  Plaintiff,

      v.                                   Case No. 4:16cv511-MW/MAF


      JULIE JONES, in her official capacity
      as Secretary of the Florida Department
      of Corrections,

                Defendant.
      __________________________________ /

           ORDER GRANTING UNOPPOSED MOTION TO STAY

      This Court has considered, without hearing, Plaintiff’s Unopposed Motion to

Stay. ECF No. 196. The motion is GRANTED. All deadlines in this case are stayed

pending Supreme Court review, if any.

      SO ORDERED on December 28, 2020.
                                     s/Mark E. Walker
                                     Chief United States District Judge
